         Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 :
                                              :       Criminal No. 1:21-cr-00048 (ABJ)
               v.                             :
                                              :
DENNIS SIDORSKI                               :

                       DEFENDANT’S SENTENCING MEMORANDUM

       Dennis Sidorski, through undersigned counsel, respectfully urges the Court to suspend a

sentence and place Mr. Sidorski on a period of probation. Such a slightly below guidelines

sentence is sufficient but not greater than necessary to reflect the seriousness of, and provide just

punishment for, the offense of disorderly and disruptive conduct at the Capitol building; avoids

unwarranted sentencing disparity; affords adequate deterrence, and takes into account Mr.

Sidorski’s personal history and characteristics. See 18 U.S.C. 3553.

       Mr. Sidorski neither participated in nor cheered on any violence taking place at the U.S.

Capitol. He entered the U.S. Capitol through the then-open Senate Wing door. Videos capturing

Mr. Sidorski inside the Capitol show him walking quietly through the building neither

participating in nor encouraging any property destruction, and not participating in any

chants/taunts to law enforcement.

       Mr. Sidorski cooperated fully with law enforcement both at the time of and following his

arrest. Mr. Sidorski spoke at length with police on the day of his arrest, telling police among

other things about his sincere regret at having been involved in the events of January 6. Mr.

Sidorski gave his phone to police; opened it for them to see, and showed police the videos he

himself had taken of the events on January 6. While Mr. Sidorski was processed and appeared in

Court, he allowed law enforcement to keep his phone, which police later returned to Mr.

Sidorski’s wife. Subsequently, at the Government’s request, Mr. Sidorski met again with law

                                                  1
           Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 2 of 12




enforcement to discuss both his Facebook and Parler accounts. His cooperation with law

enforcement demonstrates that Mr. Sidorski is sincerely remorseful for participating in the events

of January 6.

  3C1.1 Enhancement is Not Warranted

       The statement of offense in this case includes the fact that Mr. Sidorski threw away his

“American Supremacist” sweatshirt after seeing it on footage from January 6, and that in the

aftermath of the protests, Mr. Sidorski deleted his Facebook account. Mr. Sidorski did not delete

his Parler account, which contains the statements included in the Statement of Offense. In

addition, the plea agreement included the Government’s stated intention to seek a 2 point

enhancement for this alleged “obstruction of justice.” Nonetheless, the initial Presentence

Report [hereinafter “PSR”] appropriately concluded that no enhancement under 3C1.1 was

warranted.

       Just as the initial PSR concluded, the 2 point enhancement for “obstruction of justice” is

inappropriate here.

       The U.S. Sentencing Commission specifically addresses “avoiding [] arrest” as behavior

that “DOES NOT warrant application of this adjustment.” U.S.S.G. section 3C1.1 app. Note

5(D) (emphasis added). See also, e.g., United States v. Bliss, 430 F.3d 640, 646 (2nd Cir. 2005)

(defendant’s conduct -- fleeing to another state, adopting an alias, and living for a year prior to

apprehension -- insufficient to justify a 3C1.1 enhancement; “flight [is] a natural attempt to avoid

apprehension, not a willful attempt to impede or obstruct justice within the purview of section

3C1.1”).

       Moreover, the Government is well aware that Mr. Sidorski deleted his Facebook account

prior to his arrest. Mr. Sidorski spoke at length with police on the day of his arrest; telling them



                                                  2
         Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 3 of 12




among other things that he had deleted his Facebook account as a result of the harassment

thereon following Mr. Sidorski’s photo being shown on the news. Further, on the day of his

arrest Mr. Sidorski gave his phone to police; opened it for them to see, and showed police the

videos he himself had taken of the events on January 6. While Mr. Sidorski was processed and

appeared in Court, he allowed law enforcement to keep his phone which officers later returned to

Mr. Sidorski’s wife.

       Subsequently, at the request of the Government, Mr. Sidorski met again with law

enforcement to discuss both his Facebook and Parler accounts. Because the Government waited

until the summer of 2021, to request this meeting, too much time had elapsed since Mr. Sidorski

deleted his Facebook account for him to have the ability to reinstate that account. Although his

Parler account had since lapsed, Mr. Sidorski restored it in order to allow police to examine his

Parler account.

       Had the Government made their request more promptly following the deletion of his

Facebook account, Mr. Sidorski could and would have likewise reinstated the Facebook account

for the Government’s perusal – just as he willingly provided his phone to law enforcement on the

day of his arrest and just as he restored his Parler account.

       There is simply nothing in Mr. Sidorski’s conduct to support an obstruction of justice

enhancement. If anything, Mr. Sidorski deserves credit for the extent and degree to which he

cooperated with law enforcement following his arrest.

       It is somewhat alarming that the U.S. Probation Office has become such an auxillary to

the prosecution that based upon nothing more than the Government’s request for a sentencing

enhancement, the U.S. Probation Officer is prepared -- apparently without conducting even

rudimentary research on the applicability of the enhancement requested -- to reverse its position



                                                  3
         Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 4 of 12




and grant the Government’s requested sentencing enhancement. The Court should take this into

account in determining whether or not to follow the U.S. Probation office’s sentencing

recommendations, among other things.

The Court Should Reject the Final PSR’s Determination to Adopt the Government’s Objection
and Assign a 3 point Increase for “Physical Contact” Under 2A2.4.(b)(1)(A)

       The statement of offense in this case includes the fact that Mr. Sidorski, while on the

opposite side of a barrier from the officer and surrounded by a shoving, moving, jostling crowd,

“placed his left hand on [the] officer’s left shoulder and left arm for a 3 second period” while

outside the Capitol. Moreover, the plea agreement included the Government’s stated intention to

seek a 3 point increase for this physical contact pursuant to 2A2.4(b)(1)(A). Despite all this, the

initial PSR appropriately concluded that no such increase was warranted.

       Just as the initial PSR concluded, the 3 point 2A2.4(b)(1)(A) increase is inappropriate

here. A YouTube video captures the conduct at issue. That video shows Mr. Sidorski on the

opposite side of a barrier from an officer who is engaged in a physical struggle with unrelated

protestors. See Exhibit 1. For what appears to be about 2 seconds, while Mr. Sidorski is shoved

and jostled by the crowd, Mr. Sidorski’s left hand reaches out and briefly touches the armored

and clothed arm of a police officer.

       Section 2A2.4 provides that “if the offense involved physical contact or a dangerous

weapon [] was possessed and its use was threatened, increase by 3 levels.” The offense for

which Mr. Sidorski is being sentenced is disorderly and disruptive conduct at the Capitol. Mr.

Sidorski’s disruption of government business is the conduct being punished. The roughly 2

second physical contact across a barrier with an officer who neither tried to nor in no way

restricted Mr. Sidorski’s disruption of Government business, does not amount to physical contact

“involved in” the offense.

                                                 4
           Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 5 of 12




       The enhancements contemplated by U.S. Sentencing guidelines section 2A are concerned

with assaults and assaultive conduct which assist in carrying out an offense. That Mr. Sidorski’s

left arm came into contact with the clothed and armored left arm of an officer amidst a jostling,

shoving, moving crowd for roughly 2 seconds while the men were separated by a barrier, is not

the type of assault nor assaultive conduct which even could have – much less did – assist Mr.

Sidorski in carrying out a disruption of Government business.

       Moreover, it is not at all clear from that very brief contact that Mr. Sidorski could tell that

it was a police officer he touched, nor that he intended the contact with the officer. Just as easily

in the jostling, moving, shoving crowd, Mr. Sidorski could merely have been trying to steady

himself.

       To serve as a basis for the 2A2.4(b)(1)(A) enhancement, physical contact must be

intentional. See, e.g., United States v. Jackson, 728 Fed. Appx. 969 (11th Cir. 2018)(evidence that

Defendant dragged officer several feet, running over his foot after hitting him with his car, was

sufficient to establish that Defendant intended to injure officer, thus supporting 2A2.2

enhancement); United States v. Beltran-Higuera, 642 Fed. Appx. 780 (9th Cir. 2016) (intentional

accessory after the fact to co-defendant’s aggressive, violent resistance of arrest supported

2A2.4(b)(1)(A) enhancement); Cf. United States v. McKeiver, 982 F. Supp. 848 (D. Fla 1997)

(only defendant-initiated physical contact can support 2A2.4(b)(1)(A) enhancement; officer-

initiated contact, among other things, cannot be established as contact intended by the

defendant).

       Furthermore, the type of physical contact which typically supports an enhancement under

U.S.S.G. section 2A2 is far and away more egregious and potentially harmful than is the roughly

2 second contact amidst a jostling crowd at issue here. Compare, e.g., United States v. Milliron,



                                                  5
         Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 6 of 12




984 F.3d 1188 (defendant threw Molotov cocktails at police vehicles which were pursuing his

own fleeing vehicle); United States v. Jackson, 728 Fed. Appx. 969 (11th Cir. 2018)(defendant

dragged an officer several feet, running over his foot, after hitting the officer with defendant’s

car); United States v. Yazzie, 704 Fed. Appx 767 (10th Cir. 2017)(drunk driving head-on collision

injured mother and three children warranting 2A2.2 enhancement).

       Because the physical contact was exceedingly brief, innocuous, and in no way presented

any danger to the officer, the enhancement is not appropriate.

       A Probationary Sentence Avoids Unwarranted Sentence Disparity

       The conduct at issue here: disorderly and disruptive conduct at the Captiol in violation of

18 U.S.C. 1752(a)(2), is similar to -- and in many cases far less egregious than -- the conduct at

issue in many cases in which this Court has imposed probationary sentences. See, e.g., United

States v. Jenny Cudd, 21-cr-0068 (TNM).

       Ms. Cudd was sentenced to probation following her guilty plea to 18 U.S.C. 1752(a)(1).

Having travelled from Texas to Washington, D.C., Ms. Cudd prepared for violence by wearing a

bulletproof sweatshirt; was undeterred by overturned bike racks she had to cross in order to enter

the Capitol, and ultimately scaled a wall to gain entrance to the Capitol. Ms. Cudd admitted to

pushing against police while yelling “go” and “charge” to reach the entrance of the Captiol, and

remained in the Capitol for 20 minutes despite hearing loud banging and feeling the effects of

tear gas. Upon exiting the Capitol, Ms. Cudd remained on Capitol grounds for 20 min - 1 hour

watching clashes with law enforcement. Cudd Gov Sent. Memo at 1-2.

       While inside the Capitol, Ms. Cudd’s social media posts include the following statements

indicative of her intent to impede and disrupt the orderly conduct of Government business:




                                                  6
         Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 7 of 12




       …we get the news that Pence betrayed us. He had way more power, and he wasn’t
       willing to exercise it. And when Pence betrayed us is when we decided to storm the
       Capitol;

       So we get to the Capitol and some of the patriots had already broken down all of the
       barricades, and they had literally ripped our the fence … pushing and pushing and
       pushing, and we got the police to back off [] And we just pushed and pushed and pushed
       and pushed and yelled ‘go’ and yelled ‘charge’ and on an on and on.

Cudd Gov. Sent. Memo at 10.

       After her involvement in the events of January 6, Ms. Cudd posted on social media:

       (1) We didn’t vandalize anything. But we did. We did, as I say that. We did break down
           the Nancy Pelosi’s office door and somebody stole her gavel and took a picture sitting
           in the chair flipping off the camera; and
       (2) I’m proud of everything that I was a part of today. And I’ll be proud of everything
           that I’m a apart of at the next one.

Cudd Gov. Sent. Memo at 2-3.

       In an interview on January 8, 2021, Ms. Cudd repeated “I would do it again in a heartbeat

because I did not break any laws. I went inside the Capitol completely legally, and I did not do

anything to hurt anybody or destroy any property. So, yes, I would absolutely do it again.” Id. at

2.

       The following day, Cudd posted about marching toward the Capitol. According to a

newspaper in Texas, at approximately 12:30 p.m., Cudd posted a live video to social media in

which she stated that she was about 3 miles from the Capitol, that she intended to convene with

the Proud Boys – with whom Ms. Cudd was in contact on and around January 6 -- at the Capitol,

and that she was wearing a bulletproof sweatshirt. The newspaper also reported that Cudd noted

“lots of armed patriots” while on her way to the Capitol. The same newspaper reported that, at

approximately 1:30 p.m., Cudd posted to social media, “we are charging the capital (sic).” Cudd

Gov. Sent. Memo at 4.




                                                7
           Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 8 of 12




         Unlike Ms. Cudd, there is absolutely no evidence that Mr. Sidorski was aware of, much

less prepared for, the possibility of violence. Unlike Ms. Cudd, Mr. Sidorski did not push any

police officer – much less while yelling “go” and “charge” -- in order to gain entrance to the

Capitol. Mr. Sidorski was also immediately remorseful for his involvement in the events of

January 6, among other things leaving Capitol grounds immediately; taking down his Facebook

account over the embarrassment he felt at the outcry of so many Facebook friends over his photo

on the news in connection with the events of January 6. At and following his arrest, Mr.

Sidorski’s contrition as evidenced by his cooperation with law enforcement, is in stark contrast

with Ms. Cudd’s continued public rhetoric.

         Likewise, Mr. Cordon was sentenced to 12 months of probation following his guilty plea

to 18 U.S.C. 1752(a)(1) in United States v. Kevin Cordon, 21-cr-00277 (TNM). Mr. Cordon,

who was wearing body armor and carrying a gas mask,1 climbed through a broken window and

was videotaped walking around and entering the Crypt. Upon exiting the Capitol, Mr. Cordon

gave an interview during which he stated among other things: “We’re not gonna take this [stolen

election] lying down. We’re standing up and we’re taking our Country back. This is just the

beginning.”

         Mr. Sidorski wore no body armor and did not carry a gas mask. Unlike Mr. Cordon, Mr.

Sidorski walked through a then open door to enter the Capitol, and gave no interview bragging

about his participating in the events of January 6.

         Another case in which a 1752(a)(1) plea resulted in probation is United States v. Jeffrey

Witcher, 21-cr-235 (RJL). Mr. Witcher pled guilty to entering and remaining in the Capitol

Building pursuant to 18 U.S.C. 1752(a)(1), after being captured on video travelling to multiple



1   See United States v. Dana Winn, 21-cr-139 (TNM) Gov. Sent. Memo at 19.
                                                  8
           Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 9 of 12




locations inside the Capitol including the Crypt, where violence between rioters and law

enforcement was occurring around him, to include rioters overrunning the police line. Witcher

Gov. Sent. Memo at 2. Mr. Witcher remained inside for about 20 minutes, during which time he

taunted law enforcement with chants including “Do or die!”, “Our House!”, and “Don’t be a

traitor!” Id. at 2; 10. Mr. Witcher was sentenced to a 12 month period of probation.

          Mr. Witcher was “close enough to the initial breach” of the Capitol building “that he

would have seen the forcible entry and law enforcement’s attempt to prevent the rioters from

entering.” Id. at 10-11. In a video he recorded while inside the Capitol, Witcher stated “I am in

the White House! We crashed this! Our house! We did it! …” Id. at 4. Further, Witcher admitted

to deleting videos and photographs from his phone, on his way home to Texas after the protest.

          Unlike Mr. Witcher, Mr. Sidorski walked through a then-open door to the Senate Wing

door long enough after that door had been kicked in that there is no reason to think that Mr.

Sidorski saw the door be kicked in. Moreover, footage of Mr. Sidorski inside the Capitol shows

him quietly walking about while not engaging any law enforcement officer in any way – verbally

or otherwise. Just like Mr. Witcher, Mr, Sidorski cooperated with law enforcement following his

arrest.

          Dana Winn was sentenced to 10 days in jail, to be served on weekends, following his

guilty plea to 18 U.S.C. 1752(a)(1) in United States v. Dana Winn, 21-cr-00139 (TNM). Mr.

Winn travelled from Florida to D.C. bringing with him a flag pole to “hit Antifa in the head if

need be,” indicating that he was aware of the potential for violence and prepared accordingly.

Mr. Winn was part of a group that was tear-gassed by law enforcement in an effort to clear the

building; later bragging about being forced from the building in this way while they tried to “stop

the vote.” Winn Gov. Sent. Memo. at 2 (“We were trying to storm them to stop the vote and they



                                                  9
          Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 10 of 12




were starting tear gassing and forcing us out”). As Winn left the building, he remarked that “the

Patriots” had taken barricades which he and his co-defendant noticed were no longer present.

Although it is unclear what Mr. Winn’s criminal history category is, it appears that he had been

previously convicted of DUI with property damage, battery, and several traffic infractions. Id. at

11.

         Unlike Mr. Winn, Mr. Sidorski did not come to the Stop the Steal rally armed with

anything, nor did Mr. Sidorski express nor indicate in any other way an awareness of the

potential for violence nor any willingness to participate in it. Neither did Mr. Sidorski encounter

nor brag about encountering any law enforcement tear-gassing in order to expel protestors inside

the Capitol. Finally, upon exiting the Capitol, Mr. Sidorski promptly left the area. He did not,

like Mr. Winn, “continu[e] to remain … mere feet from [] the bedlam taking place inside the

building…” Id. at 14.

         The vast majority of January 6 cases already disposed of have involved guilty pleas to

violations of 40 U.S.C. section 5104(e)(2). This memorandum does not detail each such case.

Nonetheless, it should be acknowledged that the conduct at issue in those matters differs only

slightly from the conduct at issue here and the vast majority of those cases have received

probationary sentences.

         Incarceration is Not Required for Deterrence

         Prior to his arrest in this matter, Mr. Sidorski had worked at ADESA, a wholesale car

auction company, for 20 years, becoming operations manager at a rate of $60/hour. Mr.

Sidorski, owned a home in which he, his wife, and their 3 year old daughter, had lived for 14

years.




                                                10
          Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 11 of 12




       Mr. Sidorski lost all of that when he was fired as a result of his publicized arrest in this

matter. Mr. Sidorski was forced to sell his family’s home and move in with his in-laws. He

secured employment at Bowling Green County Club, where he works in maintenance making

$20/hour. Thus, Mr. Sidorski’s decision to involve himself in the events of January 6, has

already cost him a great deal. Incarceration is not necessary to serve as any further deterrence.

       Mr. Sidorski’s History and Characteristics Warrant Leniency

       Mr. Sidorski has shared with all of the people in his life his sincere regret at having made

the decision to enter the Capitol on January 6. See attached character letters.

       As the attached character letters attest, Mr. Sidorski is a hard working, kind hearted,

family oriented man. Mr .Sidorski coached youth basketball, where he built rapport with the

players and parents. When he lost his job at ADESA, Mr. Sidorski promptly took up work in

maintenance where he continues to be a dedicated, dependable employee. In addition, Mr.

Sidorski’s friends and family describe him as someone to whom they turn and on whom they can

depend.

       Mr. Sidorski’s only prior conviction is for DUI nearly 20 years ago. His recently

deceased father was a police officer as is Mr. Sidorski’s brother.

       Mr. Sidorski has proven, through perfect compliance with the conditions of his pretrial

release, that he is capable of successful community supervision. For over a year, Mr. Sidorski

has complied with every reporting, drug testing, and pre-sentencing processing condition

imposed.




                                                 11
        Case 1:21-cr-00048-ABJ Document 41 Filed 05/09/22 Page 12 of 12




       WHEREFORE, for these reasons and for others to be advanced at the sentencing

hearing, counsel submits that a sentence of probation is adequate to serve all of the

sentencing goals enunciated in 18 U.S.C. 3553(a).

                                                           Respectfully submitted,

                                                           ______/s/______
                                                           Nikki Lotze
                                                           LOTZE MOSLEY
                                                           400 7th Street, N.W.
                                                           Suite 206
                                                           Washington, DC 20004
                                                           (202) 393-0535
                                                           NLotze@LotzeMosley.com




                                              12
